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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-80116-CR-CANNON/McCabe

   UNITED STATES OF AMERICA

   vs.

   RYAN WESLEY ROUTH,

                Defendant.
   __________________________________/

                                        PROTECTIVE ORDER

             The United States filed a motion for a protective order [ECF No. 43]. After further

    discussions among counsel, the parties have submitted a revised proposed order acceptable to

    this Court. Having found good cause, the Court therefore ORDERS and ADJUDGES as

    follows:

         1) The motion [ECF No. 43] is GRANTED IN PART as set forth below.

         2) The United States shall disclose material responsive to the Standing Discovery Order

            (“discovery material”) to defense counsel.

         3) Counsel for the defense and members of the defense team – which means paralegals, legal

            assistants, expert witnesses, and investigators – may possess discovery material only as

            necessary for counsel to prepare the case and may not disseminate, share, display,

            distribute, or show any discovery material or information contained therein except as

            necessary to prepare the case.   Counsel for the defense and members of the defense team

            shall not possess for any purpose discovery material that contains Child Sexual Abuse

            Material (CSAM); alternative arrangements will be made for reviewing such discovery.

         4) The Defendant may possess discovery material but only as necessary to prepare the case.
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         Defendant may not disseminate, share, display, distribute, or show any discovery material

         or information contained therein to any person who is not a member of the defense team.

      5) The Defendant shall not possess at the Federal Detention Center or other jail facility

         without defense counsel present discovery material (including copies of electronic devices)

         that contain sexually explicit content or other material prohibited by the jail facility to

         which he is assigned. The United States shall identify these items separately for defense

         counsel.

      6) Counsel for the defendant shall ensure that the Defendant and any third party that obtains

         access to discovery material is provided a copy of this Order. Third parties who obtain

         access to, or possession of, discovery material shall not retain such access or possession

         unless authorized by this Order. Any third party who obtains access to, or possession of,

         discovery material shall promptly destroy or return the materials once the third party no

         longer requires access to, or possession of, the material responsive to the Standing

         Discovery Order to assist in the preparation of the case.

      7) Defense counsel shall, when this case is over, destroy (or return to the United States) the

         discovery material it received, including any copies provided to the Defendant.

      8) Counsel for the United States and defense counsel shall promptly report any known

         violations of the Court’s order to the Court. Disclosure or use of discovery material for

         purposes other than to prepare this case shall constitute a violation of this Order. Should

         Defendant violate the terms of this Order, he may be subject to sanctions, including but not

         limited to sentencing enhancements, criminal penalties, contempt of court proceedings, or

         modification of this Order.



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         9) This Order applies only to discovery material that is case-related.           The parties must

            mutually agree that an item of discovery material is not case related for it to be exempt

            from this Order, or receive an order from the Court that it is exempt.     This Order also does

            not apply to materials the defense obtains by means other than discovery.

         10) To the extent any party seeks to quote from or attach any item subject to this Order in any

            public filing with the Court prior to trial, the parties shall first confer in a good faith effort

            to agree on an approach for handling potential public disclosure of that item.      If the parties

            are unable to agree, counsel may raise the issue with the Court.

            DONE and ORDERED in chambers at Fort Pierce, Florida this _____ of November 2024.



                                                    ____________________________________
                                                    AILEEN M. CANNON
                                                    UNITED STATES DISTRICT JUDGE

   cc:      All Counsel of Record




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